Plaintiff in error, T.T. Nowakoski, was convicted of a violation of the prohibition law and sentenced to be confined for a period of six months in the county jail and pay a fine of five hundred dollars. Judgment and sentence were entered on April 23, 1910. An appeal was attempted to be taken by filing in this court on August 23, a petition in error with case-made. The Attorney General has filed a motion to dismiss, because the petition in error and case-made were not filed in this court within one hundred and twenty days from the date of the rendition of judgment, and because said case-made was not served upon the county attorney within the time fixed by the trial judge. In response to the Attorney General's motion, plaintiff in error filed his motion to dismiss said appeal. The Attorney General's motion to dismiss is hereby sustained and the cause remanded with direction to the county court of Pottawatomie county to enforce its judgment therein. *Page 660 